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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 In re:                                           §
                                                  §                     Chapter 11
 Free Speech Systems LLC,                         §
                                                  §             Case No. 22-60043 (CML)
                  Debtor.                         §


        PQPR HOLDINGS LIMITED, LLC’S AMENDED MOTION TO DIRECT
      SUBCHAPTER V TRUSTEE TO INVESTIGATE FINANCIAL OPERATIONS
                            OF THE DEBTOR


          PQPR Holdings Limited, LLC (“PQPR”), the secured creditor of the Debtor and a party-

in-interest, respectfully submits this Motion to Direct the Subchapter V Trustee to Investigate the

Financial Operations of the Debtor, as follows:

          1.    This case incepted with the filing of a Petition for Relief on August 3, 2022, and is

designated as a small business case under Subchapter V of the Bankruptcy Code. PQPR is the

secured creditor of the Debtor. The Debtor is run by a Chief Restructuring Officer, Marc Schwartz.

          2.    The bankruptcy case was deemed necessary by the Debtor because of litigation

brought against the Debtor by certain tort plaintiffs in Texas and Connecticut (the “Sandy Hook

Plaintiffs”). The Debtor’s business operations are profitable, and the Sandy Hook Plaintiffs have

even admitted that the Debtor is extremely solvent and highly profitable.

          3.    Despite their repeated admissions that the Debtor is solvent and profitable, the

Sandy Hook Plaintiffs have filed a motion making accusations against the Debtor, PQPR, and Mr.

Schwartz. That motion seeks to have management of the Debtor replaced (it does not say who

should serve as manager) and seeks a tort committee paid for by the Debtor to conduct a series of

inquisitions and litigation.
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        4.       The motion filed by the Sandy Hook Plaintiffs is replete with misstatements and

contradictions. Presumably these misstatements are a result of incomplete and disorganized

discovery that has taken place in the state court litigation. Such discovery failures have led to the

entry of “death penalty” sanctions in the state courts.

        5.       Thus, the parties and the Court are presented with the uncommon situation of a

profitable debtor, irredeemably flawed ongoing litigation, and a highly suspicious atmosphere

leading to incorrect assertions, such as the charge that Alex Jones received distributions of some

$68 million in the last two years. This particular allegation was apparently a result of counsel for

the Sandy Hook Plaintiffs misunderstanding the difference between a balance sheet and an income

statement but is representative of the misunderstandings and misstatements concerning the

Debtor’s finances.1

        6.       A Subchapter V Trustee is supposed to fulfill a special role in a bankruptcy case.

The Subchapter V Trustee is specifically empowered by the code to investigate the financial

circumstances of the Debtor:

        7.       Section 1184 provides:

                 Subject to such limitations or conditions as the court may prescribe, a debtor
                 in possession shall have all the rights, other than the right to compensation
                 under section 330 of this title, and powers, and shall perform all functions
                 and duties, except the duties specified in paragraphs (2), (3), and (4)
                 of section 1106(a) of this title, of a trustee serving in a case under this
                 chapter, including operating the business of the debtor.
        8.       Section 1106(a) provides, in part:

                 (3) except to the extent that the court orders otherwise, investigate the acts,
                 conduct, assets, liabilities, and financial condition of the debtor, the
                 operation of the debtor’s business and the desirability of the continuance of



1
    These misunderstandings resulted in Plaintiffs filing a TUFTA lawsuit in state court asserting that the grant of
PQPR’s liens was a fraudulent transfer. Of course, that cause of action is now property of the estate and would
presumably be treated in some way in a plan of reorganization.

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                such business, and any other matter relevant to the case or to the formulation
                of a plan;
                (4) as soon as practicable—
                (A) file a statement of any investigation conducted under paragraph (3) of
                this subsection, including any fact ascertained pertaining to fraud,
                dishonesty, incompetence, misconduct, mismanagement, or irregularity in
                the management of the affairs of the debtor, or to a cause of action available
                to the estate; and
                (B) transmit a copy or a summary of any such statement to any creditors’
                committee or equity security holders’ committee, to any indenture trustee,
                and to such other entity as the court designates;
        9.      Section 1183 deals with the duties of a Subchapter V Trustee, and provides that

the trustee, not the debtor, is to conduct a financial examination of the debtor, but only if the Court

so orders:

                (b) DUTIES.—The trustee shall—
                (1) perform the duties specified in paragraphs (2), (5), (6), (7), and (9)
                of section 704(a) of this title;
                (2) perform the duties specified in paragraphs (3), (4), and (7) of section
                1106(a) of this title, if the court, for cause and on request of a party in
                interest, the trustee, or the United States trustee, so orders…
        10.     Thus, SubchapterV specifically contemplates that the trustee, not the debtor, is

specifically to “investigate the acts, conduct, assets, liabilities, and financial condition of the debtor

[and] the operation of the debtor’s business…” but only after an order from the Court. This makes

eminent sense in this particular case. The Subchapter V Trustee is impartial. The Subchapter V

Trustee is in the best position, legally and practically, to conduct an investigation into the Debtor’s

finances, past and present.

        11.     In re Corinthian Communications, Inc., No. 22-10425 (MG), 2022 WL 3051570

(Bankr. S.D.N.Y. Aug. 3, 2022), is instructive. There, the U.S. Trustee sought to remove the

debtor in possession, alleging fraud in PPP loan applications in failing to disclose common

management with other businesses, failure to follow corporate formalities, conflicts of interest,

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and general mismanagement. Id. at *3-4. At the hearing, the debtor argued that it would fail if

management was replaced. Id. at *5. The Subchapter V Trustee reported that the debtor had not

been especially forthcoming in providing information. Id. The court noted that “the result of

removing the debtor as debtor-in-possession could very well lead to the failure, collapse of the

business, which I don’t think would benefit anyone.” Id. at *6, 8. Thus, the court determined to

expand the powers of the Subchapter V Trustee to investigate the debtor’s business and held off

on determination of the motion to replace the debtor-in-possession pending the report of the

investigation. Id. at *7-8.

         12.      PQPR suggests the instant case is somewhat similar to Corinthian and believes the

Subchapter V Trustee should be directed to conduct an investigation. PQPR will agree to the use

of up to $100,000 of its cash collateral for an investigation by the Subchapter V Trustee. If the

Subchapter V Trustee finds evidence of malfeasance by the Debtor, the Subchapter V Trustee can

and should report such to the Court and the parties.

         13.      PQPR asserts that having a comprehensive and impartial examination of the

Debtor’s finances is a preferable alternative to protracted and perhaps unfounded, but certainly

unnecessary, litigation.2 Such litigation will likely be deleterious to the Debtor’s operations, as it

necessarily takes up much of the time of the CRO, not to mention the expenditure of funds for

unnecessary litigation. Enough is being spent on the state court litigation as it is. Presumably

even the Sandy Hook Plaintiffs would agree that having the Debtor make as much money as

possible is in everyone’s best interest.

         14.      Therefore, PQPR requests that the Court enter an order:



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    PQPR believes the currently scheduled depositions of PQPR and the Debtor should go forward on September 6
and 8, but believes that any hearing on the Sandy Hook Plaintiffs’ motion should be deferred until after the Subchapter
V Trustee has completed her review.

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             a. directing the Subchapter V Trustee to conduct an investigation into the Debtor’s

                finances, past and present, and to report back to the Court;

             b. providing that up to $100,000.00 in cash collateral may be spent on such

                investigation;

             c. providing that the pending motion for appointment of a tort claims committee

                and removing the debtor in possession be abated until such time as the

                Subchapter V Trustee has reported to the Court; and

             d. for such other and further relief as is appropriate.

Dated: August 31, 2022                         Respectfully submitted,

                                              By: /s/ Stephen W. Lemmon
                                                Stephen W. Lemmon
                                                Texas Bar. No. 12194500
                                                STREUSAND, LANDON, OZBURN &
                                                LEMMON, LLP
                                                1801 S. MoPac Expressway, Suite 320
                                                Austin, Texas 78746
                                                Telephone: (512) 236-9900
                                                Facsimile: (512) 236-9904
                                                lemmon@slollp.com

                                                   ATTORNEYS FOR
                                                   PQPR HOLDINGS LIMITED, LLC




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                             CERTIFICATE OF CONFERENCE

I hereby certify that on August 30, 2022, I conferred by email with counsel for the Texas Plaintiffs,
the Connecticut Plaintiffs, the Debtor, Alex Jones, the Subchapter V Trustee, and the U.S. Trustee.
The Texas Plaintiffs are opposed. The Debtor does not oppose the relief sought. The remaining
parties have not responded as of the date of this filing.

                                             /s/ Stephen W. Lemmon                   _
                                             Stephen W. Lemmon




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                                  CERTIFICATE OF SERVICE

I hereby certify that on August 31, 2022, a true and correct copy of the foregoing instrument was
served electronically on all parties registered to receive electronic notice of filings in this case via
this Court’s ECF notification system, and/or U.S.P.S. first class mail, including the following:

Raymond W. Battaglia
LAW OFFICES OF RAY BATTAGLIA,
PLLC
66 Granburg Circle
San Antonio, Texas 78218
rbattaglialaw@outlook.com                              Ryan E. Chapple
Proposed Counsel to the Debtor and                     CAIN & SKARNULIS PLLC
Debtor-In-Possession                                   303 Colorado Street, Suite 2850
                                                       Austin, Texas 78701
Kyung S. Lee                                           Email: rchapple@cstrial.com
R. J. Shannon
SHANNON & LEE LLP                                      Randy W. Williams
700 Milam Street, STE 1300                             BYMAN & ASSOCIATES PLLC
Houston, Texas 77002                                   7924 Broadway, Suite 104
klee@shannonleellp.com                                 Pearland, Texas 77581
rshannon@shannonleellp.com                             Email: rww@bymanlaw.com
Proposed Counsel to the Debtor and                     Bankruptcy Counsel for
Debtor-In-Possession                                   Connecticut Plaintiffs

Avi Moshenberg                                         Melissa Haselden
MCDOWELL HETHERINGTON LLP                              Subchapater V Trustee
1001 Fannin Street, Suite 2700                         700 Milam, Suite 1300
Houston, Texas 77002                                   mhaselden@haseldenfarrow.com
E: Avi.Moshenberg@mhllp.com                            Trustee
Counsel for the Texas Plaintiffs
                                                       Ha Nguyn
Jarrod B. Martin                                       OFFICE OF THE U.S. TRUSTEE
CHAMBERLAIN, HRDLICKA, WHITE,                          515 Rusk Ave STE 3516
WILLIAMS & AUGHTRY, PC                                 Houston, TX 77002
1200 Smith Street, Suite 1400                          Ha.Nguyen@usdoj.gov
Houston, Texas 77002                                   U.S. Trustee
E: jarrod.martin@chamberlainlaw.com
Bankruptcy Counsel for the Texas Plaintiffs




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                                   USPS Service List

Twenty Largest Unsecured Creditors

Elevated Solutions Group
28 Maplewood Drive                            Edgecast, Inc
Cos Cob, CT 06870                             Dept CH 18120
                                              Palatine, IL 60055
Christopher Sadowski
c/o Copycat Legal PLLC                        Ready Alliance Group, Inc
3111 N. University Drive STE 301              PO Box 1709
Coral Springs, FL 33065                       Sandpoint, ID 83864

AtomialLLC                                    Getty Images, Inc
1920 E. Riverside Dr.                         PO Box 953604
Suite A-120 #124                              St. Louis, MO 63195-3604
Austin, TX 78741
                                              RatsMedical.com
Cloudflare, Inc                               c/o Rapid Medical
Dept LA 24609                                 120 N Redwood Rd
Pasadena, CA 91185-4609                       North Salt Lake, UT 84054

Jacquelyn Blott                               David Icke Books Limited
200 University Blvd                           c/o Ickonic Enterprises Limited
Suite 225 #251                                St. Helen's House King Street
Round Rock, TX 78665                          Derby DEl 3EE
                                              United Kingdom
Joel Skousen
PO Box 565                                    WWCR
Spring City, UT 84662                         1300WWCRAve
                                              Nashville, TN 37218-3800
eCommerce CDN, LLC
221 E 63rd Street                             JW JIB Productions, LLC
Savannah, GA 31405                            2921 Carvelle Drive
                                              Riviera Beach, FL 33404
Paul Watson
9 Riverdale Road                              CustomTattoNow.com
Ranmoor Sheffield                             16107 Kensington Dr. #172
South Yorkshire Sl0 3FA                       Sugar Land, TX 77479
United Kingdom
                                              AT&T
Brennan Gilmore                               PO Box 5001
c/o Civil rights Clinic                       Carol Stream, IL 60197-5001
600 New Jersey Avenue, NW
Washington, DC 20001                          Justin Lair
                                              1313 Outlook Ave.
Greenair, Inc                                 Klamath Falls, OR 97601
23569 Center Ridge Rd
Westlake, OH 44145


                                              /s/ Stephen W. Lemmon             _
                                              Stephen W. Lemmon
